                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:09-00235
                                               )          JUDGE CAMPBELL
JEREMIAH ODELL BRADSHAW                        )


                                           ORDER

       Pending before the Court is the Defendant’s Motion To Remove Detainer And To Grant

All Federal Sentence Of 18 Months as Expired; Request For Writ Of Mandamus (Docket No.

116). The Government shall file a response to the Motion on or before April 14, 2014.

       It is so ORDERED.


                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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